
Gildersleeve, J.
learned counsel for - the defendants-appellants challenge the judgment, and assign numerous errors, each of which they claim calls for a reversal. We will take up such objections as seem to call for discussion in the order in which they are presented for our consideration in the able brief of the counsel for defendants-appellants.
Mrst It is claimed that “ the amount fixed by the referee as-past damages is excessive and unjust, and altogether unsupported by legal evidence.”
The premises in question are at Hanover square, on the southerly side of Pearl street, near Old Slip, and are twenty-four feet four inches in width in front, twenty-three feet two inches in width in the rear, and about eighty-six feet deep. The premises are occupied by an old four story building, which, down to 1878, when the railroad came, rented, as appears by the testimony, to a single tenant for $5,000 per annum. The year the railroad came $3,800 were spent in improvements, and the property had no tenant. Never since the coming of the railroad has the annual rent exceeded the sum of $2,600 to $2,700. The actual difference between the rent in 1878 and the rent in 1891, when the testimony was taken, was $2,400. Nothing could be clearer than that since the coming of the railroad there had been a diminution of rent.
The problem the referee had to decide was what part of the diminution was attributable to the railroad. That the diminution of rent was not peculiar to the property in suit, and therefore did not arise from any conditions not common to property on Hanover square, a careful examination of the testimony clearly demonstrates. The referee’s report was dated November 29th, 1892, something more than three years and seven months after the action was commenced, and the period, therefore, for which the damages were awarded, was something more than nine years and seven months. The average period for which appellants must be charged with interest is more than four and one-half years. The referee estimated the rental damage per annum, including all interest, at about $900. We consider the estimate a moderate one, and that there, is ample evidence to support the award of $8,692.50, for rental damage.
*574Under this point, it is claimed on behalf of appellants that such damages, if any, as the defendants-respondents are entitled to recover, should be estimated from six years prior to the service of their answer, and not from the date of the service of the summons ; that in awarding to them exactly the same sum as given to the plaintiff, the referee erred. The answer of the defendants-respondents was served on March 17th, 1891, nearly two years after the commencement of the action. By the plea of appellants, in which they claim to set up the statute of limitations in their answer, they allege that “ the pretended cause or causes of action set forth in the answer of the co-defendants herein did not, nor did any of them, accrue to the plaintiff herein or to his predecessor or predecessors in title, within six years next preceding the commencement of this action.” The cause of action to which the objection now under consideration is raised never belonged to the plaintiff. The plea seems to be defective, but assuming that it is sufficient to interpose the defense of the statute of limitations to the co-defendants’ claim, we are of opinion that the rule of limitations applicable to the co-defendants’ claim does not differ from that which controls the plaintiff’s claim. The co-defendants’ predecessor was a party to the action at the time it was commenced, and the rights of his representatives are such as belonged to him at the commencement of the action, so far as relates to the statute of limitations.
The time when the action was commenced as to John W. Hamersley (to whose position as party to the action, as well as to whose position as owner of the moiety, these co-defendants succeeded), must be held to be the time when it was commenced against the railroad companies. The duty imposed upon John W. Hamersley and his representatives, under §521 of the Code, which regulates the practice when a defendant, having a claim against a co-defendant, desires a determination of it, was to serve a copy of their answer upon the attorney for each of the defendants to be affected by the determination, at least twenty days before the trial. That was done in this case. We are of opinion that the referee was warranted in awarding to the defendants-respondents the same damages to rental value as were awarded to the plaintiff.
Second. It is claimed upon behalf of the appellants that “ the proper parties are not before the court.”
The parties to the action to whom awards have been made are trustees, and the defect claimed consists in the absence from the action as parties of the remaindermen under each of the trusts. These remaindermen are the children of Andrew S. Hamersley, (whose names appear in the above statement of facts) and James Hooker Hamersley and Virginia Field. Neither of these persons individually is a party to the action. At the time the order was made bringing in the representatives of John W. Hamersley, it must have appeared by the motion papers what the character of their interest was. Át this time the railroad companies did not ask to have brought in the remaindermen under the will of John W. Hamersley, but elected that the present co-defendants should ■ be brought in,and acquiesced in the order bringing them in without *575any supplemental complaint The will of John W. Hamersley, ■creating the trust under which the defendants-respondents acted, was annexed to the answer of the said defendants-respondents, and the precise interest of the said defendants-respondents in said property, as appeared by the will, was thereby disclosed. The answer of the railroad companies to this answer did not raise the question that the proper parties were not before the court, nor was it raised when the motion was made for a reference.
It appeared on the face of the complaint that Shepard Knapp was trustee only for the lifetimeoof Andrew S. Hamersley. Yet neither by answer nor by demurrer to the complaint was the point taken that the remaindermen were necessary parties. After the plaintiff had rested, the counsel for the railroad companies moved “ to dismiss the complaint, and the claims of the co-defendants, on the ground that all the parties are not before the court, and that, under the decision in the Bache case, the proceedings herein before the referee must be arrested until the plaintiffs have had an opportunity to bring in all the necessary parties, in order to give the defendants absolutely correct title to the easements for which they claim damages.” This objection was raised too late. The defendants, the railroad companies, having failed to raise the question of defective parties either by demurrer or by answer, and having raised no objection by reason thereof until after the plaintiff had closed his case, must be held to have waived such objection. Decker v. Decker, 108 N. Y., 125, 135; 13 St. Rep., 131; Code Civ. Pro., §§ 488, 498, 499.
But all the necessary parties to the adjudication herein made were before the court. No fee damage is awarded. The remaindermen are not even proper parties to, or interested in, the award for past damages. The Bache case, 60 Hun, 128; 38 St. Rep., 421, upon which the counsel for the railroad companies based the objection now under consideration, does not support the appellants’ contention. In that case,' the plaintiff’s interest terminated upon her death or marriage, but fee damage was awarded, and computed upon her expectation of life. It was error to thus place upon the defendant the burden of sustaining the hazard of the termination of plaintiff’s estate by either death or marriage. For this error the judgment was reversed. The case at bar is free from any such risk.
Third. The rulings objected to under the remaining points in the appellants’ brief, excepting the alleged error discussed under the seventh point, have been examined, and in our opinion do not demand separate and special notice. The referee did not fix, by computation, a certain sum and award the same as alternative relief, but gave the railroad companies time in which to condemn. Their proposed findings, therefore, bearing upon the question of a proper sum as alternative relief, were immaterial. For'this reason many of the exceptions to the refusals to find are not well taken. A careful examination of the numerous exceptions to findings made and refusals to find fails to disclose any material error. We reach the same conclusion in reference to the exceptions to the admission and exclusion of evidence.
*576Under the appellants’ seventh point, it is urged that the referee erred in awarding costs and allowance to the defendants-respondents. In all equity cases costs are discretionary, both at special and at general term. See Herrington v. Robertson, 71 N. Y., 280. Costs in equity actions, referred to a referee, are within the discretion of the referee. Phelps v. Wood, 46 How., 1. The referee, in making the award of costs herein to which objection is taken, does not appear to have abused the discretionary power with which he was vested by disregarding well settled principles applicable thereto. The defendapts-respondents had a substantial claim against the defendants-appellants, the railroad companies, who elected that they be brought in. Their rights have been litigated, and we do not think they should forfeit costs because-they do not occupy the nominal position of plaintiffs. Code, §§ 3230, 3253. It is not unusual to allow costs to one defendant against another in the same case. Budd v. Monroe, 18 Hun, 316; Chester v. Jumel, 24 St. Rep., 230. For these reasons, we think the judgment as to costs and allowance should not be disturbed.
We can find no just reason for a reversal of the judgment. It must be affirmed, with costs to plaintiff, and since the defendants-respondents have been compelled to argue additional questions to those presented by the appeal as against the plaintiff, costs must be awarded to defendants-respondents also.
Freedman, J., concurs.
